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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION



 UNITED STATES OF AMERICA

        v.

 GREGG SMITH,                                      Case No. 19-cr-00669
 MICHAEL NOWAK,
                                                   Hon. Edmond E. Chang
 JEFFREY RUFFO, and
 CHRISTOPHER JORDAN,

                       Defendants.



   DEFENDANTS’ JOINT UNOPPOSED MOTION FOR LEAVE TO FILE
 PORTIONS OF MOTION TO EXCLUDE EXPERT TESTIMONY OF SPECIAL
              AGENT JONATHAN LUCA UNDER SEAL

       Michael Nowak, through undersigned counsel, jointly with Jeffrey Ruffo, Gregg

Smith, and Christopher Jordan (collectively, “Defendants”), through each of their

counsel, respectfully moves this Court for leave to file under seal portions of their Joint

Motion to Exclude Expert Testimony of Special Agent Jonathan Luca (“Joint Motion”).

In support of this motion, we state as follows:

       1.      A limited portion of the Joint Motion contains quoted or paraphrased

excerpts from interview reports on FBI Form FD-302 (“302 reports”) for two prospective

witnesses. These references should be filed under seal because: (a) they may never be

received in evidence; and (b) they would not ordinarily be made available to testifying

witnesses and could potentially influence a witness’s trial testimony.
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       2.      In accordance with Local Rule 26.2(c), Defendants will provisionally file

under seal unredacted versions of the Joint Motion, and at the same time will file public-

record versions of the Joint Motion with the appropriate redactions.

       3.      Counsel for the government has informed defense counsel that the

government does not oppose this request.

       WHEREFORE, Defendants respectfully request that the Court grant this

unopposed motion.



Dated: August 5, 2021

                                           Respectfully submitted,

                                                  /s/ David Meister
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                                           Counsel for Michael Nowak,
                                           filing on behalf of Defendants Smith, Nowak,
                                           Jordan, and Ruffo




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